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               IN THE UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF PENNSYLVANIA

DIANNE COCHRAN                      : Civil Action: 2020-cv-04997-AB
         Plaintiff
       v.
ULTA BEAUTY INC.,                   :
ULTA BEAUTY and                     :
        Defendants                  :




                              ORDER


      AND NOW, this 16th day of February, 2023, upon consideration of

Plaintiff’s Motion to Remove this matter from arbitration, it is hereby ORDERED

that said Motion is DENIED.




                                    BY THE COURT,



                                    ____s/ANITA B. BRODY, J.__
                                            ANITA B. BRODY, J.
